ease2:1'8-ér¥00255-JAD-vaF DocumemS Filed 03/24/13 Page 10f'1

 

' Case 2:18-cr-00255-JAD-GWF 'Document 4 *SEALED* Fi|e L/ZZMB Page ZLLS_RECEWED
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,AO 442 (Rev. 01/09) Arrestwamnt - ' couNsEL/PARHES oF REcoRD

 

UNITED STATES DISTRICT CC-)URTv AUG 24 2013

 

 

 

 

 

 

 

 

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_ BY= DEPuTY
United States of America )
v. )

) case No. 2:18-cr-00255-JAD-GWF
cHARLEs ELLIS )
Defenalant ) EQE]:EECSE[§‘_EUSYS 13va
13 2 ‘ :
ARREST wARRANT 2 P”HB w

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) CHARLES ELLIS - ,
who is accused of a.n offense or violation based on the following document filed with the'court:

Indictment |:| Super_seding Indictment |:|Information |:| Superseding Information |:|Complaint
|:| Probation Violation Petition [:| Supervised Release Violation Petition |:|Yiolation Notice |:| Order of the Court

This offense is briefly described as follows:

18 U.S.C. §§ 922(a)(1)(A); 924(a)(1)(D) ~ Engaging in the Business of Dea|ing in Firearms VWthout a License
18 U.S.C. §§ 922(a)(5); 924(a)(1)(D) ~ Transfer or Sale of Firearm to a Non-Resident

8/22/2018 Las Vegas, NV
`DA!I_E

DEBRA K. KE|\/IP|'

M@a 444-nl

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Return

 

This warrant was received on (daze) 7» 13 , and the person was arrested on (date) 91 ); '>.o/ 8
at (ciry amstare) LA»$ ug§¢y§: id \/ . -4

Date: "2»`11(19/3 MS
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Arresling oj‘icer ’s signature

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Printed name and title

 

 

 

